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                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 16-CV-61017-MORENO/O’SULLIVAN

  REALBIZ MEDIA GROUP, INC.,

              Plaintiff/Counter-Defendant,

  v.

  MONAKER GROUP, INC.,

              Defendant/Counter-Plaintiff.
                                                                          /

       NOTICE OF FILING IN SUPPORT OF REALBIZ MEDIA GROUP, INC’S MOTION
        FOR SUMMARY JUDGMENT ON DEFENDANT’S MISTAKE AFFIRMATIVE
         DEFENSE, AND RENEWED MOTION FOR FINAL SUMMARY JUDGMENT

              COMES NOW, Plaintiff/Counter-Defendant, REALBIZ MEDIA GROUP, INC.,

  (hereinafter “Plaintiff”) by and through its undersigned counsel, hereby gives notice of filing the

  following documents in support of REALBIZ MEDIA GROUP, INC’S Motion for Summary

  Judgment on Defendant’s Mistake Affirmative Defense, and Renewed Motion for Final Summary

  Judgment [DE 82].

                   1. The transcript of the Deposition of Bill Kerby, taken October 13, 2017; and

                   2. The Affidavit of Omar Jimenez dated November 3, 2017.

              The undersigned attorney, hereby certifies that the contents of the foregoing may be

  considered by this Court for all pending motions and for use at the time of trial.

              Dated: November 10, 2017

                                                                              Respectfully Submitted,

                                                                               /s/ John Cody German
                                                                              John Cody German, Esq.
                                                                              Fla. Bar No.: 058654
                                                                              COLE, SCOTT & KISSANE, P.A.


                                                       COLE, SCOTT & KISSANE, P.A.
COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
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                                                                            9150 South Dadeland Blvd., Suite 1400
                                                                            Miami, Florida 33156
                                                                            Telephone:(786) 268-6415
                                                                            Facsimile: (305) 373-2294
                                                                            Cody.German@csklegal.com

                                                                            -and-

                                                                            Brian M. Torres, Fla. Bar No. 36498
                                                                            BRIAN M. TORRES, P.A.
                                                                            One S.E. Third Avenue, Suite 3000
                                                                            Miami, FL 33131
                                                                            Tel: (305) 901-5858
                                                                            Fax: (305) 901-5874
                                                                            btorres@briantorres.legal

                                                                            Counsel for Plaintiff/Counter-Defendant,
                                                                            REALBIZ MEDIA GROUP, INC.

                                                   CERTIFICATE OF SERVICE

              I hereby certify that on the 10th day of November, 2017, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record or pro se parties identified on the attached Service

  List, either via transmission of Notices of Electronic Filing generated by CM/ECF, or via

  electronic mail or first class U.S. mail if electronic mail is unavailable, for those counsel or parties

  who are not authorized to receive electronically Notices of Electronic Filing.

                                                                             /s/ John Cody German
                                                                            John Cody German, Esq.
                                                                            Fla. Bar No.: 058654
                                                                            COLE, SCOTT & KISSANE, P.A.
                                                                            9150 South Dadeland Blvd., Suite 1400
                                                                            Miami, Florida 33156
                                                                            Telephone:(786) 268-6415
                                                                            Facsimile: (305) 373-2294
                                                                            Cody.German@csklegal.com
                                                                            Counsel for Plaintiff, REALBIZ MEDIA
                                                                            GROUP, INC.



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                                                       COLE, SCOTT & KISSANE, P.A.
COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
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                                                               SERVICE LIST

  Brian M. Torres, Esq.
  BRIAN M. TORRES, P.A.
  One S.E. Third Avenue, Suite 3000
  Miami, FL 33131
  Telephone: (305) 901-5858
  Facsimile: (305) 901-5874
  btorres@briantorres.legal
  Counsel for Plaintiff/Counter-Defendant,
  REALBIZ MEDIA GROUP, INC.

  Jose A. Loredo, Esq.
  Steven M. Blickensderfer, Esq.
  CARLTON FIELDS JORDEN BURT, P.A.
  100 S.E. Second Street, Suite 4200
  Miami, Florida 33131
  jloredo@carltonfields.com
  sblickensderfer@carltonfields.com
  Counsel for Defendant/Counter-Plaintiff
  MONAKER GROUP, INC.




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                                                       COLE, SCOTT & KISSANE, P.A.
COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
